     Case 2:18-cv-05187-CJB-KWR
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                                                          Page 1Page
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From: TURNIPSEED, DORY (St Rose)
Sent: Thursday, May 10, 2018 12:38 PM
To: Sherri Roane <sherri@tonti.net>
Subject: Re: Requested ESA Documents for Dory Turnipseed - SUNLAKE APTS



Good afternoon,

I just wanted to check on the status of my reasonable accomodation request. I do not
know how long this process usually takes. I apologize for my impatience, I have been
struggling to cope.

I appreciate your time.

Regards,

Dory Turnipseed

Minerals Services Division

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